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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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  UNITED STATES OF AMERICA,

                   -against-                             MEMORANDUM & ORDER
                                                           23-CR-0082(EK)
  CARLOS WATSON and OZY MEDIA, INC.,

                          Defendants.

 ------------------------------------x
 ERIC KOMITEE, United States District Judge:

             A grand jury sitting in this district indicted

 Carlos Watson and his company, Ozy Media, in February of

 2023.   The indictment charged both Defendants with

 conspiring to commit securities fraud and wire fraud, and

 Watson with aggravated identity theft.           After fifteen

 months of discovery, motion practice, and other pretrial

 activity, trial commenced on May 29, 2024.              Approximately

 six weeks later, the jury convicted both Defendants on all

 counts.

             Defendants now move to disqualify me as the

 presiding judge.       They also seek vacatur of their

 convictions and dismissal of the indictment, or

 alternatively, a new trial before a different judge.               The

 motion is primarily predicated on a long chain.              Defendants

 observe that: (1) I maintain investments in four

 diversified investment funds, including two managed by my
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 previous employer, Viking Global Investors LP; (2) at

 various times relevant to this case, those funds held

 positions in four publicly traded companies — Alphabet

 (Google), JPMorgan Chase, Goldman Sachs, and Live Nation;

 (3) some of those publicly traded companies (but not all

 four) contemplated investing in Ozy Media; but (4) none

 ever did.    On this attenuated basis, Defendants argue that

 my interest in these diversified investment funds creates a

 financial conflict that requires recusal.

             The motion is long on innuendo but decidedly

 short on substance.      More importantly, it is both

 (a) untimely and (b) squarely foreclosed by the applicable

 statute and long-standing Second Circuit precedent.

             In brief, beginning with timeliness:

            The fund investments at issue have been publicly
             disclosed since 2022, well before the start of
             this case.

            The investment funds, in turn, publicly disclosed
             their underlying positions every quarter in SEC
             filings.

            I raised the issue of potential conflicts at the
             first appearance, naming one of the fund families
             at issue by name. And I invited questions or
             comments from Defendants, who indicated that they
             had none.

            Defendants remained silent about these alleged
             conflicts until after they were convicted at
             trial.

             And as to the merits:

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            Defendants make no claim that I had any interest
             — direct or indirect — in a party to this case.

            Defendants do not claim that I ever personally
             held shares in any victim, or even in any entity
             mentioned at trial.

            Even a direct interest in a victim — which I
             never held — would give rise to a duty to recuse
             only if that interest were “so substantial” as to
             raise questions of partiality. Defendants never
             claim that I held such an interest.

            Defendants do not contend that any of their four
             named “victims” lost money or is entitled to
             restitution because of the charged fraud.

            Th analysis of how substantial a victim’s loss is
             does not even apply when the interest in a victim
             is held through a “common investment fund.” The
             recusal statute plainly forecloses a motion
             predicated on such an indirect interest, unless
             the judge participates in the management of the
             fund at issue. And any suggestion that I manage
             the funds at issue, or did during the pendency of
             this case, would be frivolous.

             As indicated, Defendants’ motion was based on my

 indirect financial interests in the publicly traded

 companies that they refer to as the “Four Victims.”                  See

 Def. Mem. in Supp. of Disqualification 19-32, ECF No. 326

 (“Def. Mem.”).     After the government responded, Defendants

 shifted focus in their reply brief.             There, they downplayed

 their reliance on my supposed financial interests, and

 instead highlighted a smattering of distant, attenuated,

 and (in some cases) non-existent connections that they

 labeled my “multi-layered entanglements with this case.”


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 Def. Reply Mem. 2, ECF No. 331.             This newer argument, too,

 lacks any meaningful support in law or fact.

             For these reasons and others, as discussed more

 fully below, the motion is denied.

                                 Background

             I assume the reader’s familiarity with the

 history of this case, and recite selected events only.

             The grand jury returned the initial indictment on

 February 22, 2023.      See Sealed Indictment, ECF No. 1.              The

 case was reassigned to me the following day.                That day, the

 government filed — at my request — a list of “Interested

 Individuals and Entities.”       See List of Interested Parties,

 ECF No. 7 (filed ex parte and under seal); Mar. 6 Status

 Conf. Tr. 5:7-10, ECF No. 29.             That list named

 approximately 200 companies and individuals.                Among those

 were the “Four Victims” at issue here — Goldman Sachs

 Group, Inc.; Alphabet, Inc. (formerly Google); LiveNation

 Entertainment; and JPMorgan Chase & Co.               None of the

 investment funds at issue here appeared on the list.

 Defendants do not contend that any of those funds made or

 evaluated an investment in Ozy Media.              Indeed, Defendants

 do not allege that the funds had any direct connection to

 this case at all.




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             The parties’ first appearance before me occurred

 on March 6, 2023.       I began by laying out my agenda for the

 conference, which included a “brief discussion of where we

 [stood] with respect to possible conflicts” on behalf of

 both Watson’s new defense counsel and the Court.                 Mar. 6

 Status Conf. Tr. 4:13-5:1-6; see also id. at 7:7-9 (Court

 stating that “when conflicts surface late, it has the

 potential to set things back significantly and

 unnecessarily”).       The government confirmed that they saw no

 conflict with respect to the new law firm appearing on

 Watson’s behalf. 1     Id. at 7:14-15.         I then stated:

       Okay. And as I indicated, the government has
       filed under seal, and ex parte, a list of
       interested parties. I’ve been through that and I
       didn’t see any overlap between the people and
       entities listed there on the one hand, and my bio
       on the other hand. I just want to confirm that
       the government doesn’t see anything along those
       lines either. . . .

       Obviously, if you saw the name Viking in anything
       that would be meaningful. I think that’s highly
       unlikely, but that’s the main question perhaps.



       1 Watson has been represented by four different law firms since

 his initial appearance. See Notice of Appearance, ECF No. 9 (Covington
 & Burling appearing on Watson’s behalf for “bail and presentment”);
 Notices of Appearance, ECF Nos. 18-20 (appearances by Sher Tremonte);
 Notice of Appearance, ECF No. 68 (appearance by Ronald Sullivan Law,
 PLLC); and Notice of Appearance, ECF No. 318 (appearance by Law Office
 of Andrew J. Frisch, PLLC). In addition, Watson and Ozy Media were
 represented by at least two other law firms prior to indictment.
 Watson’s trial counsel invoked these prior representations when serious
 questions emerged about whether Watson and Ozy Media had complied fully
 with grand jury subpoenas issued to them. See generally Suppl. Mem. &
 Order 4-7, ECF No. 257.

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 Id. at 7:19-8:5.       (I served as Viking’s general counsel

 until 2018.)     The government confirmed that they were aware

 of no potential conflicts on my part.              Id. at 7:24-8:2.       I

 then invited questions or comments from Defendants.                  Id. at

 9:7-8.    Watson’s counsel indicated that they had none “at

 this time.”    Id. at 9:9.     Watson’s counsel did not pursue

 this issue further or move to unseal the government’s

 Rule 12.4 disclosure.

             The case proceeded for more than a year before

 trial, during which time the parties engaged in substantial

 motion practice.       Watson himself moved:

            to require removal of a press release from the
             U.S. Attorney’s website. See Lett. Resp. to
             Gov’t, ECF No. 33. 2

            to quash a grand jury subpoena that had been
             issued to him eighteen months earlier. See Mot.
             to Compel and Cross-Mot. to Quash, ECF No. 64.
             This motion came only after the government moved
             to compel production. See Mot. to Compel, ECF
             No. 59.

            to suppress evidence recovered from his
             electronic devices. See Mot. to Suppress, ECF
             No. 73.

            to dismiss the indictment for “failure to state
             an offense.” See Mot. to Dismiss, ECF No. 84.


       2 I concluded, in response to this motion, that some statements in
 the press release were presumptively prejudicial to Defendants under
 Local Rule 23.1(d). Nov. 6, 2023 Mem. & Order 40-41, ECF No. 96; see
 Alison Frankel, Ozy Media Judge Dings Brooklyn Prosecutors for
 ‘Improper’ Press Release, Reuters, Nov. 8, 2023,
 https://www.reuters.com/legal/government/column-ozy-media-judge-dings-
 brooklyn-prosecutors-improper-press-release-2023-11-08/.

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            for dismissal based on selective prosecution.
             See id. 3

            to dismiss the case or, in the alternative,
             transfer it to a different district, based on
             pretrial publicity arising from a post announcing
             the case on the government’s Twitter account.
             See Mot. to Dismiss or Transfer, ECF No. 130.

             Watson also accused federal prosecutors of

 “brazenly” invading his attorney-client privilege.                  See

 Mot. to Disqualify Counsel & Dismiss Indictment 1, ECF

 No. 131.    On this basis, he (again) sought dismissal of the

 indictment or, in the alternative, disqualification of the

 entire prosecution team.       Id. 4

             For its part, the government moved to compel

 Watson’s and Ozy Media’s compliance with two grand jury

 subpoenas.    See Mot. to Compel 1.           Defendants’ failure to

 produce responsive materials was only one aspect of their

 persistent non-compliance with legal rules and

 court-ordered deadlines.       I granted the motion to compel,

 see July 28, 2023 Mem. & Order 1, ECF No. 81, and later

 observed that Defendants continued to disregard their

 disclosure obligations — in many cases, right up to the


       3 Watson argued that he had been “singled out” by the prosecutors
 “based on their record of targeting defendants who, like Mr. Watson and
 his co-defendants, are non-White.” Id. at 28.
       4 Watson alleged that the government had “rampage[d]” through his

 protected materials, “ransacked” his work product, and “trampl[ed]” on
 his privilege. Id. at 1-2. When Watson’s counsel made these
 assertions, he was apparently unaware that the government had sought —
 and obtained — a privilege waiver from Ozy Media’s prior counsel. See
 June 27, 2024 Mem. & Order 18-21, ECF No. 209.

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 moment they sought to introduce responsive materials as

 exhibits during trial.        See July 9, 2024 Mem. & Order 8-18,

 ECF No. 245.

                Trial began in May 2024.         After several weeks, a

 jury convicted both Defendants on all counts.                 Jury

 Verdict, ECF No. 256.        Then, on October 25, 2024 — twenty

 months after their initial appearance, and with sentencing

 approaching — Defendants filed the instant motion.                   The

 motion centers on my investments in funds managed by Viking

 Global Investors LP, D1 Capital Partners LP, and Junto

 Capital Management LP.        Def. Mem. 4-5.         As noted above,

 Defendants do not claim that their conduct harmed these

 funds directly.        Instead, they claim that, at various times

 during the indictment period and the pendency of this case,

 those funds held shares in at least one of the “Four

 Victims.” 5     Id. at 25-27.

                The investments that Defendants identify are not

 new.       In addition to appearing in my 2023 financial

 disclosures, they also appeared in my 2021 and 2022

 disclosures. 6     See 2021 Financial Disclosure 4-6, ECF


        5Given Defendants’ concession that the “Four Victims” did not
 lose money in the charged fraud, see Defs.’ Nov. 8 Lett. 1, ECF
 No. 336, it is not entirely clear that the “victim” label applies.
 Nevertheless, for the sake of simplicity, I adopt the nomenclature used
 by Defendants.
       6 Defendants do not attach those earlier disclosures to their

 motion, but “[c]ourts may take judicial notice of public documents or


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 No. 330-1; 2022 Financial Disclosure 4-7, ECF No. 330-2.

 The 2021 disclosure became public on May 10, 2022, while

 the 2022 disclosure became public on July 7, 2023.                  And my

 prior employment at Viking was also well known to

 Defendants.    For example, Defendants cite my 2018 financial

 disclosures to the Senate Judiciary Committee, which

 indicated that I was “contractually obligated” to maintain

 investments in certain Viking funds “for at least three

 years.”    Def. Mem. 25 (citing reporting by Corporate

 Counsel magazine in July 2018). 7

             The funds’ investments in the “Four Victims” were

 also publicly disclosed well before trial.                 Defendants

 themselves rely on these public filings in their motion.

 See, e.g., Def. Mem. 23 n.28 (citing Forms 13F — disclosing

 holdings in U.S. equities every quarter — from 2009 through

 2011); see also id., tbls. 2 and 3 (relying on same public

 filings, dating back to 2008).

             Finally, Defendants of course knew which

 companies they solicited for investment in Ozy, without the

 need for the government to tell them.              This would explain

 why prior counsel asked no questions when I raised the




 matters of public record.” Casey v. Odwalla, Inc., 338 F. Supp. 3d
 284, 294 (S.D.N.Y. 2018).
       7 I have never been employed by either D1 or Junto.



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 conflicts issue, see Mar. 6 Status Conf. Tr. 9:9, and did

 not seek unsealing of the Rule 12.4 filing.

                                Legal Standard

              A party seeking judicial disqualification must

 clear a high bar.      There is a “strong presumption of a

 judge’s impartiality which may only be overcome by adequate

 proof to the contrary.”       Wiltshire v. Williams,

 No. 10-cv-6947, 2012 WL 899383, at *6 (S.D.N.Y. Mar. 16,

 2012). 8

              Defendants’ motion is predicated on 28 U.S.C.

 § 455.     That provision creates two avenues to

 disqualification.      Section 455(a) requires a judge to

 disqualify himself from “any proceeding in which his

 impartiality might reasonably be questioned.”                  28 U.S.C.

 § 455(a).     Section 455(b) then requires disqualification in

 specific factual situations, including when the judge “has

 a financial interest in the subject matter in controversy

 or in a party to the proceeding.”              Id. § 455(b)(4).

              The statute carves out an important exception to

 Section 455(b)(4)’s financial-interest provision.                   It

 provides that “[o]wnership in a mutual or common investment

 fund that holds securities is not a ‘financial interest’ in


       8 Unless otherwise noted, when quoting judicial decisions this
 order accepts all alterations and omits all citations, footnotes, and
 internal quotation marks.

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 such securities unless the judge participates in the

 management of the fund.”         Id. § 455(d)(4)(i).             This

 exception is often referred to as a “safe harbor.”                      See

 Cent. Telephone of Va. v. Sprint Commc’ns Co. of Va., 715

 F.3d 501, 515-16 (4th Cir. 2013).

             And the Supreme Court has made clear that when

 Section 455 specifically limits a recusal obligation — as

 the safe harbor for common-fund ownership does — the

 catchall proscription on apparent partiality in Section

 455(a) cannot be read to contradict that limitation.                      In

 Liteky v. United States, 510 U.S. 540 (1994), the Court

 wrote:

       As we have described, § 455(a) expands the protection
       of § 455(b), but duplicates some of its protection as
       well — not only with regard to bias and prejudice but
       also with regard to interest and relationship. Within
       the area of overlap, it is unreasonable to interpret
       § 455(a) (unless the language requires it) as
       implicitly eliminating a limitation explicitly set
       forth in § 455(b). It would obviously be wrong, for
       example, to hold that “impartiality could reasonably
       be questioned” simply because one of the parties is in
       the fourth degree of relationship to the judge.
       Section 455(b)(5), which addresses the matter of
       relationship specifically, ends the disability at the
       third degree of relationship, and that should
       obviously govern for purposes of § 455(a) as well.

 Id. at 552–53.         On that basis, as discussed below, courts

 agree that where the safe harbor applies, financial

 interests held through a common fund cannot be a basis for

 invoking Section 455(a).

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                                  Discussion

             Defendants advance two arguments for

 disqualification.      Invoking Section 455(a), they argue that

 the fund investments at issue constitute a basis on which

 my impartiality might reasonably be questioned.                  Def. Mem.

 19-27 (arguing Section 455(a)).              And invoking Section

 455(b)(4), they argue that my investments create an

 impermissible “financial interest” that requires recusal.

 Id. at 27-30 (arguing Section 455(b)(4)).

             Defendants’ motion is flawed on several levels.

 At the outset, it is untimely.             But it is also meritless.

 The challenged investments fall comfortably within the safe

 harbor exception to Section 455(b)(4), which precludes any

 reasonable perception of partiality under Section 455(a).

 Moreover, it is questionable whether any of the “Four

 Victims” actually qualifies as such for purposes of the

 instant analysis.      Defendants do not allege that Goldman

 Sachs, Live Nation, Alphabet, or JPMorgan Chase lost money

 because of Defendants’ fraudulent conduct, or that those

 companies would benefit from a restitution order in this

 case. 9   And finally, Defendants’ remaining miscellaneous


       9 Defendants do not argue the Live Nation ever considered

 investing in Ozy Media. Instead, the evidence established that
 Defendants used Live Nation’s name to induce other investors to commit
 capital. At trial, the government elicited testimony that Watson had


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 arguments — lobbed like so much spaghetti at a kitchen wall

 — do not merit relief either.

 A.    Timeliness

             “It is well-settled that a party must raise its

 claim of a district court’s disqualification at the

 earliest possible moment after obtaining knowledge of facts

 demonstrating the basis for such a claim.”                  Apple v. Jewish

 Hosp. & Med. Ctr., 829 F.2d 326, 333 (2d Cir. 1987).                    The

 timeliness of a disqualification motion is a “threshold

 issue,” and must be “evaluated before matters of substance

 are reached.”      Clemmons v. Comm’r of Soc. Sec., No. 11-cv-

 1645, 2011 WL 6130926, at *4 (E.D.N.Y. Dec. 8, 2011).

             To assess compliance with the timeliness

 requirement, the court must first determine when a movant

 had notice of the factors underlying the disqualification

 claim, and then ask whether the movant sought recusal

 promptly thereafter.       See Apple, 829 F.2d at 333.              Under

 this standard, Defendants’ request for disqualification is

 clearly untimely.

       1.    The Relevant Facts Have Been Public For Years

             A movant seeking recusal is usually “charged with

 knowledge of all facts known or knowable, if true, with due



 falsely represented that Live Nation was leading Ozy Media’s Series D
 fundraising round. See Trial Tr. 4127:15-24, 4167:5-11.

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 diligence from the public record or otherwise.”                  Univ. City

 Studios, Inc. v. Reimerdes, 104 F. Supp. 2d 334, 349 & n.88

 (S.D.N.Y. 2000); see also United States v. Daley, 564 F.2d

 645, 651 (2d Cir. 1977) (“Defense counsel’s protestations

 that he was unaware of [the judge’s] previous involvement

 with [the defendant] are unconvincing since the facts were

 clearly known to [the defendant] himself and, as a matter

 of public record, were at all times ascertainable by

 counsel.”).

             To be sure, the rule is more forgiving in cases

 involving alleged financial conflicts under

 Section 455(b)(4).      Because “lawyers do not routinely

 research judges’ [public] financial disclosure forms,”

 judges “bear the principal burden of compliance with that

 [S]ection.”     Chase Manhattan Bank v. Affiliated FM Ins.

 Co., 343 F.3d 120, 130-31 (2d Cir. 2003). 10                However, once a

 judge has disclosed the basis of a potential financial

 conflict — as I did at the very beginning — the parties may



       10 The Chase Manhattan court also noted that Section 455(b)(4)

 conflicts are “non-waivable.” 343 F.3d at 129. But the fact that a
 motion is not waivable does not preclude an untimeliness finding.
 Although “untimeliness in making a motion for recusal can sometimes
 constitute the basis for finding an implied waiver,” the fact remains
 that “waiver and untimeliness are distinct issues.” United States v.
 Bayless, 201 F.3d 116, 127 (2d Cir. 2000). The former involves a
 “renunciation . . . of the right to seek recusal,” while the latter
 involves a “failure to seek recusal when it should first have been
 sought.” Id. Thus, the non-waivability of Section 455(b)(4) conflicts
 does not bar finding that Defendants’ recusal motion was untimely.

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 not plead ignorance of that basis.               Cf. Kolon Indus. Inc.

 v. E.I. DuPont de Nemours & Co., 748 F.3d 160, 165, 171

 (4th Cir. 2014) (finding disqualification motion untimely

 where the clerk of court had “issued a notice informing the

 parties of the judge’s related financial interest” more

 than two years before the motion was filed).

             My investments in the funds at issue here (and my

 prior employment with one of the fund managers) are no

 secret.    As the government notes, my prior role at Viking

 is disclosed in my biography on the Court’s website, and

 has been since I first took the bench.                See Gov’t Opp. Mem.

 15, ECF No. 330.       My fund investments have appeared in my

 annual public financial disclosures since 2021, and (as

 noted above) the funds themselves were publicly disclosing

 their own underlying holdings quarterly in SEC filings.                    I

 expressly raised my Viking relationship at the first status

 conference.     Finally, Defendants of course knew the

 companies from which they had solicited investments.                    Cf.

 Daley, 564 F.2d at 651 (defense counsel’s “protestations

 that he was unaware of” relevant facts were “unconvincing

 since the facts were clearly known to [the defendant]

 himself”); HC2, Inc. v. Messer, No. 20-cv-3178, 2022 WL

 61370, at *3 n.4 (S.D.N.Y. Jan. 6, 2022) (finding a recusal

 motion untimely where judge’s prior law firm affiliation

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 had been “a matter of public record since [the judge]

 joined that firm over two decades ago.”).

             Notwithstanding these brightly flashing signals —

 and my express invitation to raise concerns about potential

 conflicts — Defendants now claim they only learned about

 the challenged investments (for timeliness purposes) on

 October 2, 2024, when my 2023 disclosures were published.

 Def. Mem. 2-3.         This is not, to put it charitably,

 credible.     I expressly notified Defendants about my

 relationship with Viking at the outset of this case.                      The

 challenged investments have been public for more than two

 years.    And Defendants apparently waited another two months

 after obtaining my 2022 disclosure to file the instant

 motion.    See Decl. of Luke Brindle-Kyhm ¶ 3, ECF No. 329-1

 (stating that Defendants’ investigators were “first able to

 access” my 2022 financial disclosures on or about August

 27, 2024); see also Apple, 829 F.2d at 334 (motion filed

 one month after entry of judgment and two months after

 events giving rise to it was untimely).                  Given this

 timeline, Defendants cannot plausibly claim that they were

 unaware of this alleged conflict until October 2024.

             Indeed, the chronology here is like that in Kolon

 Industries.     There, the Fourth Circuit found a November

 2011 disqualification motion untimely because (1) the basis

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 for the alleged conflict had been a matter of public record

 for years, (2) the defendant had been notified about the

 alleged conflict by the court in May 2009, and (3) the

 defendant obtained documents showing the potential conflict

 in August 2010.        748 F.3d at 171.         These reasons apply here

 too.

             Defendants invoke Chase Manhattan to argue that

 it was “not incumbent on [them] . . . to search [my

 earlier] financial disclosure forms.”                 Def. Mem. 20.      This

 overreads Chase Manhattan.        That case said the judge bears

 the “principal burden” of identifying potential financial

 conflicts.     343 F.3d at 131.         But “principal” does not mean

 “sole.”    Nothing in Chase Manhattan permits a party to

 ignore years of public disclosures, and then bring a

 recusal motion based on a supposed conflict that plainly

 appears in those disclosures.               See LoCascio v. United

 States, 473 F.3d 493, 497 (2d Cir. 2007) (timeliness

 requirement “avoids the risk that a party [will] hold[]

 back a recusal application as a fall-back position in the

 event of adverse rulings on pending matters”).                   This is

 especially so where — as here — the party levels no

 objections (and, indeed, asks no questions) in response to

 the judge’s affirmative inquiry about potential conflicts.

 See Mar. 6 Status Conf. Tr. 7:19-24, 9:7-9.                  At bottom,

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 Chase Manhattan is not the permission slip for willful

 ignorance that Defendants claim.

             Defendants also elide the reasoning of Chase

 Manhattan.     There, the Second Circuit partially relied on

 the fact that “had counsel . . . examined the judge’s

 disclosure forms existing on the date the case was

 transferred to [the judge], the forms would not have shown”

 the alleged financial conflict.              343 F.3d at 131 n.2

 (emphasis added).      In other words, a distinction between

 Chase Manhattan and the instant case is that the parties in

 Chase Manhattan could not identify the alleged conflict by

 reviewing financial disclosures. 11

       2.    The Motion Was Not Promptly Filed

             To determine whether a party filed a recusal

 motion promptly upon learning of an alleged conflict, a

 court must consider “whether: (1) the movant has

 participated in a substantial manner in trial or pre-trial

 proceedings; (2) granting the motion would represent a

 waste of judicial resources; (3) the motion was made after

 the entry of judgment; and (4) the movant can demonstrate

 good cause for the delay.”       Apple, 829 F.2d at 334.


       11 Indeed, Chase Manhattan was decided against a different

 disclosure landscape. It preceded the newer requirement that judges
 disclose certain purchases and sales on an interim basis, in addition
 to their annual disclosures. See Courthouse Ethics and Transparency
 Act, Pub. L. No. 117-125, § 2(a), 136 Stat. 1205, 1205 (2022).

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 Several circuits have established a presumption that

 motions made after a judgment — or even a trial verdict —

 are untimely.     See id. (citing United States v. Studley,

 783 F.2d 934, 939 (9th Cir. 1986) (“We first note that a

 motion for recusal filed weeks after the conclusion of a

 trial is presumptively untimely absent a showing of good

 cause for its tardiness.”)); Jones v. Pittsburgh Nat.

 Corp., 899 F.2d 1350, 1356 (3d Cir. 1990) (holding motions

 for recusal filed after entry of dismissal order untimely,

 because “[a]ny other conclusion would permit a party to

 play fast and loose with the judicial process by betting on

 the outcome.”).

             At least three of the four Apple factors cut

 against Defendants.       Defendants have participated

 extensively in trial and pre-trial proceedings since the

 alleged financial conflicts became public.                  Starting this

 case over would work a colossal waste of judicial

 resources.     And Defendants have not shown good cause for

 their delay.

             To be sure, Defendants’ motion has not been filed

 after the entry of judgment.           However, Defendants are

 seeking recusal after being found guilty at trial, which

 gives rise to the suggestion that they are “improperly

 using the recusal motion as a fall-back position to an

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 unfavorable ruling.”       Da Silva Moore v. Publicis Groupe,

 868 F. Supp. 2d 137, 154 (S.D.N.Y. 2012), objections

 overruled sub nom. Moore v. Publicis Groupe SA & MSL Grp.,

 No. 11-cv-1279, 2012 WL 12528637 (S.D.N.Y. Nov. 8, 2012);

 see also LoCascio, 473 F.3d at 497.               As the Second Circuit

 has made clear, Section 455’s timeliness requirement exists

 to prevent such manipulative tactics.                See In re IBM Corp.,

 45 F.3d 641, 643 (2d Cir. 1995) (“[A] prompt application

 avoids the risk that a party is holding back a recusal

 application as a fall-back position in the event of adverse

 rulings on pending matters.”).

             In sum, the recusal motion is untimely.

 B.    The Merits

             Even if Defendants’ motion were not untimely, it

 would still fail for (at least) three independent reasons.

 First, my investments in the four funds fall within the

 safe-harbor exception outlined in Section 455(d)(4)(i).

 Second, Defendants never show that the ”Four Victims”

 actually were victims of Defendants’ fraudulent conduct, at

 least in the sense that they suffered financial harm.                    And

 third, Defendants do not explain how an order of

 restitution could have predictably benefited any of the

 four funds.     After addressing these points, I briefly

 discuss Defendants’ remaining scattershot arguments.

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       1.    The Safe Harbor in Section 455(d) Applies

             Defendants’ motion is squarely foreclosed by

 existing law.     As noted above, the safe harbor in Section

 455(d) excludes ownership interests in “common investment

 funds” from the class of financial interests that require

 recusal.    This exception plainly applies, and it is

 dispositive of this motion.

             Under the safe harbor, “[o]wnership in a mutual

 or common investment fund that holds securities is not a

 ‘financial interest’ in such securities unless the judge

 participates in the management of the fund.”                   28 U.S.C.

 § 455(d)(4)(i).        The policy justification is clear.              The

 exception “enable[s] judges to hold securities without

 risking recusal across a broad range of cases.”                   Cent.

 Telephone, 715 F.3d at 515; see also Chase Manhattan, 343

 F.3d at 128 (a “bright-line test as to equity interests” —

 like the safe harbor in Section 455(d) — “avoids many

 difficult line-drawing issues and is in that sense actually

 helpful to judges”); New York City Dev. Corp. v. Hart, 796

 F.2d 976, 980 (7th Cir. 1986) (the safe harbor allows

 “judges to hold securities without needing to make fine

 calculations of the effect of a given suit on their

 wealth.”).     Indeed, if the law were otherwise, judges could

 not even own an index fund or retirement account without

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 risking a torrent of disqualification motions. 12                  See Cent.

 Telephone, 715 F.3d at 515; United States v. Farkas, 149 F.

 Supp. 3d 685, 698 (E.D. Va. 2016).               The exception also

 encourages judges to hold diversified funds rather than

 single-name stocks.       This reduces the risk of financial

 impropriety because the judge will find it “difficult to

 predict” the effects of any given ruling.                   Hart, 796 F.2d

 at 979.

             The text of Section 455(d)(4)(i) establishes two

 criteria for an investment to qualify for the safe-harbor

 exception.     The investment must be in a “mutual or common

 investment fund.”      And the judge must not “participate[] in

 the management of the fund.”           The investments at issue here

 easily satisfy both criteria.

             a.    The Funds Are Common Investment Funds

             The investments at issue are in “mutual or common

 investment funds.”      Section 455(d) does not define this

 phrase, but the Advisory Committee on the Code of Conduct

 for United States Judges has offered guidance.                   See 2B Jud.

 Conf. of the U.S., Guide to Judiciary Policy 204 (2024)



       12 This risk is especially pronounced when the underlying

 investments are in large, widely held companies like Alphabet and
 JPMorgan Chase. See Martin Leetau et al., Characteristics of Mutual
 Fund Portfolios: What are the Value Funds? 3, 13 (Nat’l Bureau of Econ.
 Res., Working Paper No. 25381, 2021) (noting that most mutual funds
 invest predominantly in the stocks of large companies).

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 (“Advisory Op. No. 106”).        To determine if a fund qualifies

 for the safe harbor, relevant considerations include: “(1)

 the number of participants in the fund; (2) the size and

 diversity of fund investments; (3) the ability of

 participants to direct their investments; (4) the ease of

 access to and frequency of information provided about the

 fund portfolio; (5) the pace of turnover in fund

 investments; and (6) any ownership interest investors have

 in the individual assets of the fund.”                 Id.; see also

 Cellspin Soft, Inc. v. Fitbit, Inc., 2023 WL 2176758, at *8

 (N.D. Cal. Feb. 15, 2023) (applying the Advisory Committee

 factors).

             Taking these factors in turn:

             Number of participants.             As Defendants

 acknowledge, the funds at issue have hundreds of investors.

 Def. Mem. 29 & n.30.        This is consistent with common-fund

 status.    See Advisory Op. No. 106 at 205 (law firm’s

 retirement fund qualified for the exception because, among

 other factors, “there were a large number of

 participants”).        Defendants have cited no authority for the

 proposition that funds this widely held do not qualify as

 common investment funds. 13


       13The parties have surfaced only one case holding that the number
 of investors militated against common fund status. See NEC Corp. v.


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             Size and diversity of holdings.                  The funds are

 large and highly diversified — they manage billions of

 dollars and maintain scores or hundreds of positions at a

 given time, as a cursory glance at their public filings

 would indicate.        See Gov’t Opp. Mem. 12 (citing public

 disclosures).     Defendants’ arguments are misleading on this

 point.    They first state that the funds in question

 “concentrate their positions in a few public stocks.”                      Id.

 at 29.    This contention is belied by the funds’ quarterly

 (and public) filings, on which Defendants themselves

 extensively rely.        For example, one manager’s SEC filings

 show that it held positions in eighty-one companies at the

 end of Q1 2023.        See Form 13F, Viking Global Investors LP

 (May 15, 2023).        And because Form 13F requires disclosure

 only of domestic shareholdings, and only long positions,

 that number captures a relatively small portion of the

 actual diversification.        See 17 CFR § 240.13f-1(c);

 Frequently Asked Questions About Form 13F, SEC,

 https://www.sec.gov/divisions/investment/13ffaq (last




 Intel Corp., 654 F. Supp. 1256, 1259 n.1 (N.D. Cal. 1987) (safe harbor
 did not apply to an investment fund where “membership [was] limited to
 24 members”).

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 visited Nov. 18, 2024) (“You should not include short

 positions on Form 13F.”). 14

             Participants’ ability to direct underlying

 investments.     The ability of outside investors like the

 undersigned to direct the underlying investments of the

 funds is, simply put, zero.       (Indeed, Defendants’ motion

 dramatically overstates the level of input that a general

 counsel might have into stock selection during his

 employment, let alone six-plus years after his

 resignation.)     Defendants sidestep this point, even though

 it is apparent on the face of filings they cite




       14Defendants assert that the funds are “explicitly employing
 limited diversification.” Def. Mem. 29. This assertion is also
 inaccurate. It relies on statements about how concentrated the funds’
 governing documents permit them to be — not how concentrated they
 actually are. See id. at 29 n.31 (quoting an SEC filing as “allowing
 for up to 12% concentration in a given position”). As noted above, a
 quick perusal of the funds’ filings demonstrates the extent of the
 funds’ diversification. Again, that perusal would understate the level
 of diversification because Form 13F does not reveal non-U.S. holdings
 or short positions. In any event, even the hypothetical twelve percent
 concentration would not be inconsistent with common-fund status. The
 Second Circuit held Berkshire Hathaway to qualify for “common
 investment fund” status in a recent case, despite that fund permitting
 much greater concentration. See United States v. Teman, No. 21-1920,
 2023 WL 3882974, at *3 (2d Cir. June 8, 2023) (summary order); see also
 John Devine & Wayne Duggan, The Complete Berkshire Hathaway Portfolio,
 U.S. News Money, Sept. 4, 2024,
 https://money.usnews.com/investing/stock-market-news/articles/the-
 complete-berkshire-hathaway-portfolio (last visited Nov. 18, 2024)
 (“Although Berkshire Hathaway’s stock portfolio – worth about $310
 billion – comprises 47 positions, it’s not quite as diversified as you
 might expect for a grouping of that many stocks. Its top six holdings
 make up 71% of Berkshire's stock portfolio. And its single largest
 position, Apple, makes up almost 28% of its portfolio.”) (emphasis
 added).

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 extensively. 15    See Def. Mem. 29.           Instead, they assert only

 that “the funds are actively and aggressively managed, with

 positions changing quarter by quarter.”                Id.     This misses

 the point: the level of “aggression” with which the funds

 are managed (whatever that may mean) says nothing about my

 — or any other outside investor’s — power to direct the

 contents of the funds’ portfolios.

             Transparency into fund portfolios.                 The less

 extensive (and less frequent) a given fund’s disclosures

 about its holdings, the more likely it will qualify as a

 common investment fund under the relevant ethics guidance.

 See Advisory Op. No. 106 at 205.              And as is widely known,

 private funds like the ones at issue here are generally


       15 As their public filings make clear, the funds in question are

 managed by their respective management companies. Those management
 companies act in the interests of their clients, which are the funds
 themselves — not the ultimate individual investors in those funds. See
 Goldstein v. SEC, 451 F.3d 873, 881 (D.C. Cir. 2006). The brochure
 filed with Viking’s March 28, 2024 Form ADV states, for example:

       VGI [Viking Global Investors, the management company] has
       defined certain investment objectives for the Funds, as set
       forth in their respective offering memoranda and operative
       documents, and tailors its advisory services to meet those
       objectives. VGI is not restricted in the types of
       financial instruments in which it may invest on behalf of
       the Funds. However, VGI monitors and manages for the Funds
       any internal portfolio guidelines (for example, leverage
       and exposure requirements for internal risk-management
       purposes). These internal guidelines confer no rights on
       its clients or investors and impose no additional legal
       obligations upon VGI.

 Viking Global Investors LP, Part 2A of Form ADV: Firm Brochure 4
 (Mar. 28, 2024) (emphasis added). There is no indication in the Form
 ADV or elsewhere that the managers at issue take direction from outside
 investors, and Defendants have cited none.

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 required to disclose less than the average mutual fund.

 See, e.g., SEC Off. of Investor Educ. & Advocacy, Investor

 Bulletin: Hedge Funds 4 (2013) (“[H]edge funds are not

 required to provide the same level of disclosure as you

 would receive from mutual funds.”). 16

             Here, too, Defendants’ brief creates an

 inaccurate impression.       Defendants describe the

 availability of a “constant stream of detailed account

 reports” about the funds, pointing to one manager’s weekly

 performance estimates and monthly “long equity positions

 reports.”     Def. Mem. 16-17.    The weekly estimate they cite,

 however, contains no position-level data at all.                   And while

 the monthly report lists long positions, it only does so on

 a lag, and furthermore says nothing about the fund’s short

 positions — a meaningful portion of the portfolio of a

 long-short equity fund.       This is less transparency into

 fund-level positions than the average mutual fund offers. 17




       16 The funds at issue are commonly referred to as “long-short

 equity” funds. As such, they differ from mutual funds in two important
 ways: they seek to “hedge” their long exposure by taking short
 positions, and they are compensated based on performance. Neither of
 these factors should have any relevance to the common-fund analysis.
 Nor should the funds’ ability to invest in privately held, as well as
 publicly traded, companies.
       17 Mutual funds face extensive disclosure requirements.  See 15
 U.S.C. § 80a-29 (detailing reporting requirement of investment
 companies governed by the Investment Company Act of 1940). Those
 requirements generally do not apply to private funds. Nat. Ass’n of
 Priv. Fund Managers v. SEC, 103 F.4th 1097, 1102 (5th Cir. 2024).

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             Pace of turnover in fund assets.                 The faster the

 pace of turnover, the greater the case for common

 investment fund status.       See Advisory Op. No. 106 at 204.

 This is because higher turnover limits the outside

 investor’s ability to predict the fund’s underlying

 holdings at any given time.       See id. (law firm retirement

 fund fell within the safe harbor because, among other

 things, “the fund’s assets turned over frequently”); cf.

 Hart, 796 F.2d at 980 (where a judge holds a mutual fund

 containing a company’s stock, the judge may still preside

 over a case involving that company because “the fund may

 sell the stock before the judge decides the case”).

 Defendants appear to believe that the opposite is true, so

 they assert that the funds’ positions “chang[e] quarter by

 quarter.”     Def. Mem. 29.    Thus, Defendants end up arguing

 (wittingly or unwittingly) for the safe harbor’s

 applicability on this point.

             Ownership of underlying assets.                 Defendants do

 not allege that I personally hold any ownership interest in

 the underlying assets of the funds (and I do not).

 Instead, they point to disclosures in one of the fund

 managers’ SEC filings regarding the possibility of

 “co-investment opportunities,” id. at 30 n.34, but they do




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 not suggest that I have participated in any such co-

 investment alongside any of the funds (and I have not).

              b.   The Undersigned Does Not Participate in
                   Managing the Funds

              As noted in the six-factor analysis above, I do

 exercise no control over the funds.               Indeed, Defendants do

 not allege that I make investment decisions for these

 funds.     Perhaps realizing just how far that assertion would

 stretch credulity, they rely instead on implication and

 innuendo.

              For example, Defendants point to my position as a

 director of the Viking Global Foundation to suggest that I

 continue to hold some sway over Viking’s investment

 decisions.     Def. Mem. 5-6.    That foundation makes grants to

 organizations that “address systemic inequities” in early-

 childhood education in marginalized communities, among

 other priorities. 18     The board position is uncompensated,

 and the Foundation is a separate legal entity from the

 investment manager at issue.           The suggestion that my

 service on the Foundation’s board demonstrates some control

 over the Viking funds cannot be taken seriously.

              Thus, the safe harbor to Section 455(b)(4)

 applies.


       18See Viking Global Foundation, https://vikingglobal.com/viking-
 global-foundation/ (last visited Nov. 18, 2024).

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     c.     The Safe Harbor Eliminates Any Appearance Issue
            Under Section 455(a)

            Because the safe harbor applies, Defendants’

argument for disqualification under Section 455(a) also

fails.    In Liteky, the Supreme Court stated that

limitations on Section 455(b) — like the Section 455(d)

safe harbor — must apply to the 455(a) analysis as well.

510 U.S. at 552.        To conclude otherwise “would cause the

statute, in a significant sense, to contradict itself.”

Id.; see also Hart, 796 F.2d at 980 (applying Section

455(a) to conduct protected by the safe harbor “would

prevent [Section] 455(d)(4)(i) from acting as a safe

harbor, once again calling on judges to decide whether a

financial interest is sufficiently substantial to require

disqualification.”); Farkas, 149 F. Supp. 3d at 698 (“[I]t

would be poor statutory construction to interpret § 455(a)

as nullifying the safe harbor explicitly designated by the

statute.”).

            However, “since the impartiality of the court has

been questioned, it is important to address [Defendants’]

contention on the merits.”        Paschall v. Mayone, 454 F.

Supp. 1289, 1300 (S.D.N.Y. 1978).         Accordingly, I proceed

to address Defendants’ Section 455(a) argument as well.




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     2.     Defendants Do Not Allege That The “Four
            Victims” Suffered Financial Harm

            The crux of Defendants’ Section 455(a) argument

is that I have indirect exposure to the “Four Victims.”

Therefore, the argument goes, an observer could reasonably

infer that I am partial to those victims.        There are two

glaring problems here.      First, Defendants cited no evidence

that Alphabet, Goldman Sachs, Live Nation, or JPMorgan

Chase lost money because of Defendants’ fraudulent conduct,

and they have now acknowledged that they make no such

argument.    Second, even if such evidence existed, my

investments in those companies are too insubstantial — by

orders of magnitude — to trigger disqualification.

            a.   None of the “Four Victims” Suffered
                 Financial Harm

            To claim restitution in a criminal case, an

alleged fraud victim “must have endured a financial loss

that was directly or proximately caused by a defendant’s

fraud.”   United States v. Calderon, 944 F.3d 72, 95 (2d

Cir. 2019); cf. U.S.S.G. § 2B1.1, application note 1

(defining fraud “victim” as a person who “sustained any

part of [an] actual loss” determined under Section

2B1.1(b)(1)).    Thus, to show that any of the “Four Victims”

would benefit from a restitution order, Defendants need to

show that those companies lost money.


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           This they cannot do.        Perhaps most significantly,

Defendants have now acknowledged, in response to my

inquiry, that none of the four companies “lost money or is

entitled to restitution.”      See Defs.’ Nov. 8 Lett. 1;

Order, Nov. 5, 2024.     This squares with the trial record.

Watson’s co-defendant, Samir Rao, testified that after he

and Watson orchestrated the impersonation of a YouTube

employee in a due diligence call with Goldman Sachs, the

Goldman investment “fell apart immediately.”          Trial Tr.

844:4.   Rao also testified that there were “no serious

discussions with JPMorgan about equity investments,” id. at

852:14-15, and that Alphabet “did not ultimately invest”

either, id. at 867:19-20.      Watson himself admitted that

Live Nation never agreed to invest in Ozy Media.          Id. at

4157:10-12.

           b.    Any Foreseeable Losses to the “Victims”
                 Were Vanishingly Small

           As Defendants note, we assess recusal based on

what the judge knows ab initio, rather than in hindsight.

Thus, we might assume, arguendo, that in February 2023, it

was plausible that the “Four Victims” expended resources in

due diligence, or in response to subpoenas in this case.            I

need not analyze whether those assumptions would actually




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give rise to “victim” status. 19        Even if they did, and even

if my supposed interest in those victims had been direct

rather than indirect, recusal still would not be required.

            Stock ownership in a victim — as opposed to a

party — does not raise an appearance of partiality unless

“the extent of the judge’s interest in the crime victim is

so substantial, or the amount that the victim might recover

in restitution is so substantial, that an objective

observer would have a reasonable basis to doubt the judge’s

impartiality.”     United States v. Lauersen, 348 F.3d 329,

336-37 (2d Cir. 2003); see In re Drexel Burnham Lambert

Inc., 861 F.2d 1307, 1313 (2d Cir. 1988) (“[W]here an

interest is not direct, but is remote, contingent, or

speculative, it is not the kind of interest which

reasonably brings into question a judge’s impartiality.”).

            Here, the “victims” that actually contemplated

Ozy Media investments have market capitalizations in the

hundreds of billions or, in the case of Alphabet, in the

trillions of dollars.      On that order of magnitude, the


       19 There is some authority suggesting that a company may seek

restitution when it conducts due diligence in reliance on a defendant’s
fraudulent representations. See, e.g., United States v. Gallant, 537
F.3d 1202, 1250-51 (10th Cir. 2008) (finding that a company had been
“harmed” by a defendant’s fraudulent representations because, even
though it did not ultimately invest in the defendant’s bank, it had
“incurred the expenses associated with . . . performing due diligence”
based on those misrepresentations). Here, however, Defendants do not
contend that the “Four Victims” are entitled to restitution on that
basis.

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hypothetical costs to those firms stemming from Defendants’

fraud would be less than a rounding error.             See Lauersen,

348 F.3d at 336-37.       The Second Circuit recently opined

that where a district judge held “a stake that could not be

meaningfully affected by a restitution award,” there was

“nothing to” the defendant’s argument that the judge should

have recused based on his indirect investment in Bank of

America (a victim).       See Teman, 2023 WL 3882974, at *3; see

also United States v. Ravich, 421 F.2d 1196, 1205 (2d Cir.

1970) (judge’s ownership of victim bank’s stock was, under

the circumstances, “not merely unsubstantial but

non-existent”). 20      Defendants identify no contrary authority

suggesting that an indirect investment in a victim

suffering no — or negligible — harm requires recusal.

Instead, they rely heavily on the Second Circuit’s decision

in Litovich v. Bank of America Corporation, 106 F.4th 218,

228-29 (2d Cir. 2024), a case involving a judge’s spouse’s

ownership stake in a party, not a victim.

            Thus, even assuming arguendo that Defendants’

“Four Victims” actually are victims, Defendants still




      20 Using Defendants’ assumptions, the highest beneficial interest

I had in any of the “Four Victims” during the pendency of this case was
a .0015 percent share in LiveNation. See Gov’t Opp. Mem. 20. This is
smaller than the interest that the Second Circuit held insubstantial in
Ravich. 421 F.2d at 1205 (.0072 percent stake).

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cannot show a reasonable appearance of partiality under

Section 455(a).

     3.    Restitution Would Not Clearly Benefit the Funds

           Finally, even if we were to ignore all the other

gaps in Defendants’ motion, there would still be one last

problem:   There is no certainty that a restitution order in

favor of the “Four Victims” would benefit the funds in

which I am invested.

           Put simply, any restitution award would go to the

companies, not the funds.       And the funds’ positions in the

companies turn over from time to time.         For example,

Viking’s public filings reveal that while it held Alphabet

shares at the end of most quarters between Q4 2019 and

Q2 2021, it no longer held such shares as of Q3 2021.

Viking then reported no new Alphabet position for more than

two years.    So, it would be impossible to predict which

fund might own a stake in which victim company at the time

restitution was ordered. 21     Basically, Defendants’

restitution scenario would require the power of

clairvoyance.    See Hart, 796 F.2d at 980 (“[N]o judge with

a diversified portfolio will be able to predict the effect

[of a given ruling] on his wealth.”).


     21 This leaves out an additional complication, which is that funds
disclose what they hold at quarter-end; Form 13F disclosures do not
show the start and end dates of a position with precision.

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     4.    Defendants’ Remaining Arguments Lack Merit

           In addition to invoking my financial holdings,

Defendants also level a series of scattershot allegations

concerning my “overlap” with, and “multi-layered

connections” to, various people and entities.         See

generally Def. Reply Mem.      As to several of these,

Defendants invoke no legal authority to establish their

relevance, let alone to support the claim that a given

connection might justify relief.        Because Defendants failed

to develop these arguments in the argument section of their

initial motion, they are probably waived.        See Niagara

Mohawk Power Corp. v. Hudson River-Black River Regulating

Dist., 673 F.3d 84, 107 (2d Cir. 2012) (argument waived

where “no separate heading in the argument section of the

brief address[d] [the] argument”).        Nevertheless, given the

suggestion of partiality, I briefly address them here.

           The Foundation Board.       First, Defendants point to

my position as a director of the Viking Global Foundation.

Def. Mem. 5-6.    As noted above, the Foundation in question

pursues child education and welfare (and related goals)

through grant-making.      It is not an investment advisor.        It

has its own legal existence, and Defendants do not indicate




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how or why it might be involved in the management of the

funds at issue. 22

            “Co-Investments.”     Defendants attempt to make

something out of the funds’ “co-investments” with certain

entities.    Def. Mem. 13-14.     Of all the strands of

Defendants’ “multi-layered connections” argument, this one

is the most puzzling.      To the extent I understand it, the

“co-investment” argument proceeds as follows: certain

victims — such as SV Angel and Clayton, Dubilier & Rice —

actually invested in Ozy Media (unlike the “Four Victims”).

Separate and apart from their Ozy investments, those

victims also held other (entirely unrelated) investments.

For example, SV Angel owned shares in a company called

“Color,” and Clayton, Dubilier & Rice owned shares in

“Covetrus.”    See Def. Mem. Ex. B, ECF No. 326-2.         Those

other companies — Color and Covetrus — may have nothing to

do with this case.      But some of the investment funds in

which I participated also own (or owned) shares in those

other (unrelated) private companies.        Ergo, these

co-investments suggest a conflict.




      22 Section 455 forecloses the contention that the Foundation’s

holdings could be attributed to me. See 28 U.S.C. § 455(d)(4)(ii) (“An
office in [a] . . . charitable . . . organization is not a ‘financial
interest’ in securities held by the organization.”).

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            It is eminently possible that I am missing

something, but the logic of this argument remains elusive.

The suggestion appears to be that if Person A invests in a

given security, and Person B also invests in that security,

we should presume some meaningful relationship between

them.   But Defendants suggest no reason to believe that all

— or even most — funds that are “co-investing” in the same

start-up company have any substantive relationship with

each other at all, let alone one that would be legally

relevant here.

            Prime Brokers.     Defendants note that Goldman

Sachs and JPMorgan Chase provided certain services — such

as prime brokerage services — to Viking while I was general

counsel.    Def. Mem. 12-13. 23    They note a sentence (in a

publicly available biography of mine) indicating that I

supervised negotiations with counterparties as general

counsel.    Id. at 22-23 n.26.      But Defendants never explain

why my former employer’s custodial or trading relationships

would have any bearing on my impartiality in this case.             As

is widely known, broker-dealers like JPMorgan Chase and

Goldman Sachs are very large, and very complicated,


      23 Among certain other services, a prime broker “provides a

centralized way for clearing trades and settling funds across multiple
accounts held with many executing brokers who process buy and sell
orders of securities.” SEC v. Murphy, 50 F.4th 832, 839 (9th Cir.
2022), cert. denied sub nom. Murphy v. SEC, 144 S. Ct. 344 (2023).

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entities that maintain many lines of business.          Defendants

do not suggest that the prime brokerage function at either

bank had anything to do with the events underlying this

case (and one struggles to imagine why it would).          Indeed,

even if I personally relied on financial services from

Goldman Sachs or JPMorgan Chase, that would not be enough

to justify disqualification.       See, e.g., Harris v.

Corrections Corp. of Am., 2022 WL 19039609, at *1 (M.D.

Fla. Feb. 24, 2022) (a judge’s ownership of a bank account

“does not call for recusal [even] when the bank is a

litigant in a case”); 2B Jud. Conf. of the U.S., Guide to

Judiciary Policy 164 (2024) (noting in Advisory Opinion

No. 94 that “[m]aintaining a bank account does not require

a judge to recuse from cases in which the bank is a

party”).

            Individuals Working at Victims (and Putative

Victims).    Lastly, Defendants point to certain

relationships with individuals.        Among them is one Raph

Posner, whom the motion identifies as general counsel of

Antara Capital, another “alleged victim” of Defendants’

fraudulent conduct.     Def. Mem. 11-12.     Mr. Posner did not

testify in the case, but Antara did invest money in Ozy.

Once again, the logic of this purported connection is

opaque: Defendants point out that Mr. Posner once worked at

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another fund (that did not invest in Ozy) in which I was

previously an investor (but was no longer, by the time this

case started).     The most Defendants say about the Posner

relationship is that he was my “counterpart” in his role as

general counsel of a different fund manager.           Id. at 11.

They do not suggest that I have ever met Mr. Posner, let

alone that I have a meaningful relationship with him (and I

do not recall ever meeting him). 24

            The second such individual is Patrick Carroll,

who was an FBI agent when I was a federal prosecutor.

Defendants note — correctly — that Mr. Carroll was present

at my confirmation hearing and that I spoke there of my

regard for him.     Id. at 10-11.       What Defendants do not

suggest, however, is that I have had any interaction with

Mr. Carroll in his subsequent capacity as a Vice President

of Goldman Sachs.       Indeed, Defendants do not contend

explicitly that Mr. Carroll was still actually working at

Goldman during the investigation in this case.           The



      24 When resolving a motion to disqualify, a judge may conduct his

or her own investigation, and draw on his or her own recollections, to
assess the significance of an alleged conflict. See, e.g., United
States v. Morrison, 153 F.3d 34, 48 n.4 (2d Cir. 1998) (holding it was
“not irregular” for a district judge to ask her spouse about his
“possible involvement with the defendant”); Thorpe v. Zimmer, 590 F.
Supp. 2d 492, 494-95 (S.D.N.Y. 2008) (finding that purchase of knee
prosthetic from defendant’s competitor did not create a conflict, based
in part on judge’s recollection that she had “no input into the
selection of a prosthesis” and “did not do any independent research
into various prostheses”).

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government, for its part, has represented that it had no

contact with Mr. Carroll.      Gov’t Opp. Mem. 17 n.6

(confirming that “the government has no knowledge of this

individual’s involvement in the case”).

            Thus, putting aside the question of financial

exposure to the “Four Victims,” Defendants have collected —

after what seems like a herculean effort — a small

assemblage of remote, indirect, and in some cases non-

existent connections between me and certain minor (at most)

players in the Ozy Media saga.         This is no revelation:     If

a judge lives long enough to have held a series of jobs and

made a healthy number of acquaintances, a spaghetti chart

like the one in Defendants’ reply brief will not be hard to

contrive.    See Reimerdes, 104 F. Supp. 2d at 354 (citing

Anderson v. Creighton, 483 U.S. 635, 639 (1987)) (“As the

Supreme Court has pointed out in another context, at a

sufficiently high level of generality, everything is

related to everything else.”).         But none of these alleged

connections even faintly suggests a conflict of interest.

Thus Defendants’ “other connections” argument is, in the

end, another “case where multiple zeros still add up to




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zero.”     United States v. Coppins, 953 F.2d 86, 92 (4th Cir.

1991) (Niemeyer, J., dissenting). 25

      5.     Summary

             Defendants’ motion for disqualification can be

dismissed without recourse to the merits.          But the argument

fails on the merits, too.       Indeed, it is — and this is a

word we strive not to use lightly — frivolous.           The safe

harbor exception plainly applies.         The alleged “victims”

are not clearly victims at all.         A restitution order would

benefit neither me nor the funds in which I have invested.

And none of Defendants’ remaining miscellaneous arguments

carry water. 26




      25 In the interest of completeness, it is worth noting briefly
that Defendants have mounted an extended media campaign — on YouTube,
Instagram, a website of their own creation, and elsewhere — in which
they accused government prosecutors of racial bias (without evidence),
and then turned their attacks on the Court. See Gov’t Opp. Mem. 1-2
(citing Too Black for Business, 23 Separate Complainants Write Letters
of Judicial Complaint, http://www.tooblackforbusiness.org/cw/cw-unfair-
trial); July 23 Gov’t Lett. 1-5, ECF No. 264. This, too, is no cause
for disqualification. See, e.g., United States v. Wolfson, 558 F.2d 59
(2d Cir. 1977) (disqualification not warranted based on defendant’s
letter to the New York Times disparaging judge); United States v.
Helmsley, 760 F. Supp. 338, 341 (S.D.N.Y. 1991) (attorney’s “hostile
campaign” against judge’s nomination not grounds for recusal). Indeed,
the Second Circuit has affirmed the decision not to recuse even in the
case of physical threats against a judge. E.g., In re Basciano, 542
F.3d 950, 957-58 (2d Cir. 2008).
      26 Given that the motion is untimely, Defendants’ request to

unseal the Rule 12.4 statement, see Def. Mem. 19, is denied as moot.
(Defendants indicate that they had emailed this request to Chambers,
see id., notwithstanding the Court’s Individual Rules and Practices to
the contrary.)

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                                Conclusion

           For the foregoing reasons, the motion to

disqualify is denied.



           SO ORDERED.




                                     /s/ Eric Komitee
                                   ERIC KOMITEE
                                   United States District Judge


Dated:     November 19, 2024
           Brooklyn, New York




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